                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

RACHAEL ANNE ELROD, ANDREW
KAUFMAN, and SARAH MARTIN,               No. 3:20-cv-00617
on behalf of themselves and all others
similarly situated,
                                         District Judge Eli J. Richardson
Plaintiffs,                              Magistrate Judge Barbara D. Holmes

       v.                                CLASS ACTION

NO TAX 4 NASH, MICHELLE                  JURY TRIAL DEMANDED
FOREMAN, and JOHN DOES 1-10,

Defendants.

BROOKS BRASFIELD, on behalf of
himself and others similarly situated,   No. 3:20-cv-00618

Plaintiff,

       v.

NO TAX 4 NASH and JOHN DOES 1-
10

Defendants.



                REVISED PROPOSED CASE MANAGEMENT ORDER




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        In compliance with the Court’s October 27, 2021 Order (D.E. 117), the parties respectfully

submit the following amended proposed case management schedule:

             Type of Deadline                   Current Deadline              New Deadline
                                                                            (affected in bold)
     Proposed Class Notice Plan and/or              Suspended              December 17, 2021
     Preliminary Approval Deadline for
          Non-Settling Defendants
            Discovery Motions                   December 17, 2021           February 11, 2021

    Completion of Written Discovery and         December 31, 2021           February 25, 2021
         Fact Witness Depositions
     Plaintiffs and Third-Party Plaintiff        January 21, 2022            March 11, 2022
              Expert Disclosures
      rd
     3 Case Resolution Status Report             January 28, 2022            March 18, 2022

       Defendants and Third-Party               February 28, 2022             April 15, 2022
      Defendants’ Expert Disclosures
           Expert Depositions                     April 29, 2022               May 6, 2022

            Dispositive Motions                    June 3, 2022                June 3, 2022

     Responses to Dispositive Motions            June 24, 2022               June 24, 2022
                                                   (at latest)1                (at latest)
       Replies on Dispositive Motions             July 8, 2022                July 8, 2022
                                                    (at latest)                (at latest)
                 Trial Date                     November 8, 2022            November 8, 2022

        Per CMO ¶ N, the parties certify that the requested extension still conforms to Local Rule

16.01(h)(1) – indeed, the existing dispositive deadlines are unaffected.




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  Responses are due within 21 days of the underlying motion, which therefore could fall before
June 24 if the motion is filed earlier. The holds true for Reply briefs, which are due within 14 days
of any Response brief.


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Dated: November 12, 2021            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2021, a true and correct copy of the foregoing

Proposed Case Management Order was served via the Court’s online CM/ECF system and

emailed notice to the following counsel of record:

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